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Boyd v. Union Pacific Corporation September 23, 2010
Page 1
1 IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
2 MARSHALL DIVISION
3 BRENDA BOYD, Individually )
and as Personal )
4 Representative of the )
Estate of CALVIN BOYD, )
5 Deceased )
)
6 Plaintiff ) CIVIL ACTION NO.
) 2:09-cv-00254
7 vs. )
)
8 UNION PACIFIC CORPORATION )
)
9 Defendant )
10 ORAL AND VIDEOTAPED DEPOSITION OF
11 ANTONIO DeLEON
12 SEPTEMBER 23, 2010
13 ORAL DEPOSITION OF ANTONIO DeLEON, produced as a
14 witness at the instance of the Plaintiff and duly
15 sworn, was taken in the above styled and numbered
16 cause on September 23, 2010, from 9:53 a.m. to 11:52
17 a.m., before Gaylord Sturgess, Certified Shorthand
18 Reporter No. 744 in and for the State of Texas,
19 reported by Stenographic method at the law offices of
20 Brown, Dean, Wiseman, Proctor, Hart & Howell, 200 Fort
21 Worth Club Building, 306 West 7th Street, Fort Worth,
22 Texas, pursuant to the Federal Rules of Civil
23 Procedure, Notice (and the provisions stated on the
24 record).
25 Job No. 8665 - 10923AD (GS-10187-gt) eee
|

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1 ‘' he'd been working fast and furious for an hour or two?
2 A Oh, no.

3 Q Just ten minutes?

4 A (The Witness nodded his head up and

5 down. )

6 Q Up until that time, that day, had Mr.

7 Boyd said anything to you about feeling bad or having

8 any troubles?

9 A No.

10 Q Yeah. And you've already told me you'd
11 never known him to have any health problems before;

12 other than you knew he was on blood pressure medicine?
13 A That's correct.

14 Q Did it -- was there anything out of the
15 ordinary about the work he was doing, or the rate he
16 was doing it, or anything like that, Mr. DeLeon?

17 A Oh, no.

18 Q Okay. Where were you and what happened
19 to cause you to realize he was having some trouble?
20 A I was, like I say, he was on the east end
21 on the machine.
22 I was a car ahead of him when he -- I was
23 on top of the car where the ties are at, because I'm
24 actually watching him.
25 Q Uh huh.

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1 A We backed up to start doing our work.

2 And like I said, he worked about ten minutes, and then

3 he said, "Hold on a minute."

4 I have my walkie-talkie, because I talk

5 to the engineer and conductor.

6 He said, "Hold on a minute, Tony. I'm

7 starting to sweat. You know, I'm starting to feel,

8 you know, sweating."

9 And I said, "Okay."

10 I told Roy and Frank, "Hold on a minute."
11 Q Okay.

12 A I said, "Are you all right, Calvin?"

13 He said, "Yeah, I'll be okay. I'1l be

14 okay. Just wait a minute."

15 I said, "Okay."

16 And then Roy, the Conductor, got on the
17 radio. He said, "Do you want me to bring y'all some
18 water?"

19 And I said, "Yes, bring us some water."
20 Q Okay.
21 A And I said, "Calvin, we're going to bring
22 some water."
23 I said, "Are you okay?"
24 He said, "Yeah, I'm okay, Tony. Let's
25 just wait a minute. I'll be all right."

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